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     KEVIN COX
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     KEVIN COX,                                         Case No.: 2:24-cv-00042-KS
11
12                Plaintiff,                            NOTICE OF VOLUNTARY
           vs.                                          DISMISSAL OF ENTIRE ACTION
13                                                      WITH PREJUDICE
14
     I SMOKE 4 LESS LLC; J.M.R.
15   ASSOCIATES LLC; and DOES 1 to 10,
16                Defendants.
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           PLEASE TAKE NOTICE that Plaintiff KEVIN COX (“Plaintiff”) pursuant to

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     Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire

21
     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which

22
     provides in relevant part:

23         (a) Voluntary Dismissal.

24                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25                       and any applicable federal statute, the plaintiff may dismiss an action
26                       without a court order by filing:
27                       (i)      A notice of dismissal before the opposing party serves either an
28                                answer or a motion for summary judgment.

                                                    1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3   Court.
 4
 5   DATED: January 26, 2024               SO. CAL. EQUAL ACCESS GROUP
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 7
 8                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
 9                                               Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
